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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                     BEAUMONT DIVISION



 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            NO. 1:09-CR-109(37)
                                                  §
 RENE CASAREZ                                     §


        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT


        On this day, the court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Earl S. Hines regarding defendant’s plea of guilty to Count I of the Superseding

 Indictment in the above-numbered case. Having conducted a proceeding in the form and manner

 prescribed by Fed. R. Crim. P. 11, the magistrate judge recommends that the court conditionally

 accept the plea agreement. The court is of the opinion that the Findings of Fact and Recommenda-

 tion should be accepted.


        Accordingly, it is ORDERED that the Findings of Fact and Recommendation of the United

 States magistrate judge are ADOPTED.


        It is further ORDERED that the court conditionally accepts the plea agreement as to Count

 I of the Superseding Indictment and will defer its final decision as to acceptance or rejection until

 there has been an opportunity to consider the presentence report.


        SIGNED this the 13 day of May, 2010.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge
